B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                            Eastern District of Michigan
                                                 Case No. 13−32994−dof
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Cheryl L Silvers
   3208 W Bath Rd
   Perry, MI 48872
Social Security / Individual Taxpayer ID No.:
   xxx−xx−3598
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 12/4/13                                              Daniel S. Opperman.Flint
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.




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                                               United States Bankruptcy Court
                                               Eastern District of Michigan
In re:                                                                                                       Case No. 13-32994-dof
Cheryl L Silvers                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0645-4                  User: ktrio                        Page 1 of 2                          Date Rcvd: Dec 04, 2013
                                      Form ID: b18                       Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 06, 2013.
db            +Cheryl L Silvers,    3208 W Bath Rd,    Perry, MI 48872-8103
22335701      +CITI BANK of South Dakota,    P.O. Box 6500,    Sioux Falls, SD 57117-6500
22335704      +FLint Clinical Path,    P.O Box 321456,    Flint, MI 48532-0025
22335705       G.E. CAPITAL CONS CARDCO,    PO BOX 9001557,    LOUISVILLE, KENTUCKY 40290-1557
22335706      +Ge Money Bank,    8875 AERO DR STE 200,    San Diego, CA 92123-2255
22335711      +Memorial Medical Associates,    P.O. Box 456,    Owosso, MI 48867-0456
22335713      +Pnc Bank, N.a.,    1 Financial Pkwy,    Kalamazoo, MI 49009-8002
22335716    ++RUSSELL COLLECTION AGENCY,     PO BOX 7009,    FLINT MI 48507-0009
              (address filed with court: RUSSELL COLLECTION,      G3285 VAN SLYKE RD,    FLINT, MI 48507)
22335715      +Red Cedar Ent And Au,    301 N CLINTON AVE,    Saint Johns, MI 48879-2513
22335720      +UNITED COLLECT BUR INC,    5620 SOUTHWYCK BLVD STE,    TOLEDO, OH 43614-1501

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
22335698     +E-mail/Text: june@ar-s.net Dec 04 2013 22:11:36       ACCOUNT RECEIVABLES SO,    301 N CLINTON AVE,
               SAINT JOHNS, MI 48879-2513
22335699      EDI: CAPITALONE.COM Dec 04 2013 22:23:00       Cap One,    Po Box 85520,   Richmond, VA 23285
22335702     +EDI: CONVERGENT.COM Dec 04 2013 22:23:00       CONVERGENT OUTSOURCING,    800 SW 39TH ST,
               RENTON, WA 98057-4975
22335700     +E-mail/Text: COAFINTERNALBKTEAM@CAPITALONEAUTO.COM Dec 04 2013 22:12:34
               Capital One Auto Finan,    3901 Dallas Pkwy,    Plano, TX 75093-7864
22335703     +E-mail/Text: electronicbkydocs@nelnet.net Dec 04 2013 22:11:54        Dept Of Education/neln,
               121 S 13th St,    Lincoln, NE 68508-1904
22335707      EDI: HFC.COM Dec 04 2013 22:23:00      Hsbc,    P.O. Box 5207,    CAROL STREAM, IL 60197-5207
22335708     +EDI: CBSKOHLS.COM Dec 04 2013 22:23:00       Kohls/capone,    N56 W 17000 Ridgewood Dr,
               Menomonee Falls, WI 53051-7096
22335710     +E-mail/Text: bgitchell@memorialhealthcare.org Dec 04 2013 22:11:28        MEMORIAL HEALTHCARE,
               PO BOX 456,    Owosso, MI 48867-0456
22335712     +EDI: MID8.COM Dec 04 2013 22:23:00      MIDLAND FUNDING,     8875 AERO DR STE 200,
               SAN DIEGO, CA 92123-2255
22335714     +EDI: PRA.COM Dec 04 2013 22:23:00      PORTFOLIO RECVRY&AFFIL,     120 CORPORATE BLVD STE 1,
               NORFOLK, VA 23502-4962
22335718      EDI: NEXTEL.COM Dec 04 2013 22:23:00      Sprint/Nextel,     P.O. Box 219554,
               Kansas City, MO 64121-9554
22335717     +EDI: CITICORP.COM Dec 04 2013 22:23:00       Shell/citi,    Po Box 6497,
               Sioux Falls, SD 57117-6497
22335721     +E-mail/Text: BKRMailOps@weltman.com Dec 04 2013 22:11:57        Weltman Weinberg & Reis Co.,
               2155 Butterfield Dr Suite 200,    Troy, MI 48084-3463
                                                                                               TOTAL: 13

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
22335709        Lhr,inc.
22335719      ##TRI-County Emergency Phy,   1031 E. Saginaw,   LANSING, MI                      48906-5519
                                                                                                                    TOTALS: 1, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 06, 2013                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING



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District/off: 0645-4         User: ktrio                 Page 2 of 2                  Date Rcvd: Dec 04, 2013
                             Form ID: b18                Total Noticed: 23


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 4, 2013 at the address(es) listed below:
              Curtis L. Zaleski   on behalf of Debtor Cheryl L Silvers curtis@azlaw.us
              Samuel D. Sweet   ssweet@trusteesweet.us, jwill@trusteesweet.us;ss125@trustesolutions.net
                                                                                            TOTAL: 2




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